        Case 2:19-cv-02208-EEF-DMD Document 49 Filed 08/01/19 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


AUTUMN MONTGOMERY                                                           CIVIL ACTION

VERSUS                                                                      NO. 19-2208

WAITR HOLDINGS INC.                                                         SECTION "L" (3)


                                             ORDER

        Considering Defendant’s Motion to Compel Arbitration, R. Doc. 16, and Plaintiffs’ Motion

to Certify Class, R. Doc. 37;

        IT IS ORDERED that both Motions be and hereby are DENIED WITHOUT

PREJUDICE as premature, reserving the rights of the parties to re-file, if necessary, at a later

date.



        New Orleans, Louisiana this 31st day of July, 2019.



                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
